          Case:18-01413-KHT
           Case 18-14487-KHTDoc#:12-6
                              Claim 5 Filed:05/17/19
                                      Filed 05/09/19 Entered:05/17/19 12:42:54Page
                                                     Desc Main Document         Page1
                                                                                   1 of of
                                                                                        2828
   Fill in this information to identify the case:

                                                                                                                                                                          EXHIBIT




                                                                                                                                                                                         exhibitsticker.com
   Debtor 1              Derrick J Martin Jr.

   Debtor 2
   (Spouse, if filing)                                                                                                                                                         F
   United States Bankruptcy Court for the: District of Colorado (Denver)
                                                                                                (State)
   Case number            18-14487




  Official Form 410
  Proof of Claim                                                                                                                                                               04/19
  Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
  make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
  Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
  documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
  mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
  explain in an attachment.
  A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
  Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:       Identify the Claim


1. Who is the current
                                        Western States Bank
   creditor?                            Name of the current creditor (the person or entity to be paid for this claim)

                                        Other names the creditor used with the debtor


2. Has this claim been                  S No
   acquired from                        £ Yes. From whom?
   someone else?

3. Where should notices                 Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   and payments to the                                                                                                  different)
   creditor be sent?
   Federal Rule of                      Western States Bank Attn: Adam Lindstrom
   Bankruptcy Procedure                 Name                                                                            Name
   (FRBP) 2002(g)
                                        3430 E. Grand Avenue
                                        Number        Street                                                            Number          Street

                                        Laramie, WY 82070
                                        City                               State                   ZIP Code             City                          State                   ZIP Code

                                        Contact phone     (307) 721-7553                                                Contact phone
                                        Contact email          a.lindstrom@wsb.bank                                     Contact email
                                        Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                        __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend                S No
   one already filed?                   £ Yes. Claim number on court claims registry (if known)                                                  Filed on
                                                                                                                                                              MM   / DD     / YYYY


5. Do you know if anyone                    No
   else has filed a proof                   Yes. Who made the earlier filing?
   of claim for this claim?




  Official Form 410                                                                          Proof of Claim                                                               page 1
         Case:18-01413-KHT
          Case 18-14487-KHTDoc#:12-6
                             Claim 5 Filed:05/17/19
                                     Filed 05/09/19 Entered:05/17/19 12:42:54Page
                                                    Desc Main Document         Page2
                                                                                  2 of of
                                                                                       2828


 Part 2:    Give Information About the Claim as of the Date the Case Was Filed


6. Do you have any number             No
   you use to identify the            Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor: 2645
   debtor?


7. How much is the claim?             $345,350.22                            . Does this amount include interest or other charges?
The debt was reaffirmed on 08/27/18 (docket entry #53)                        £ No
                                                                              S Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                        charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Money Loaned



9. Is all or part of the claim £ No
   secured?                    S Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                           S Real estate. 23593 East Chenango Pl Aurora, CO 80016
                                                             If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim Attachment
                                                             (Official Form 410-A) with this Proof of Claim.
                                           £ Motor vehicle
                                           £ Other. Describe:


                                           Basis for perfection:          Mortgage / Deed of Trust
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $
                                           Amount of the claim that is secured:          $345,350.22

                                           Amount of the claim that is unsecured: $0.00                             (The sum of the secured and unsecured
                                                                                                                    amounts should match the amount in line 7.)


                                           Amount necessary to cure any default as of the date of the petition:               $1,952.85


                                           Annual Interest Rate (when case was filed)4.5000 %
                                           S Fixed
                                           £ Variable


10. Is this claim based on a         No
    lease?
                                     Yes. Amount necessary to cure any default as of the date of the petition.                $


11. Is this claim subject to a       No
    right of setoff?
                                     Yes. Identify the property:




  Official Form 410                                                            Proof of Claim                                                   page 2
         Case:18-01413-KHT
          Case 18-14487-KHTDoc#:12-6
                             Claim 5 Filed:05/17/19
                                     Filed 05/09/19 Entered:05/17/19 12:42:54Page
                                                    Desc Main Document         Page3
                                                                                  3 of of
                                                                                       2828


12. Is all or part of the claim                 No
    entitled to priority under
    11 U.S.C. § 507(a)?                   Yes. Check one:                                                                                             Amount entitled to priority
   A claim may be partly
   priority and partly                          Domestic support obligations (including alimony and child support) under
   nonpriority. For example,                    11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                               $
   in some categories, the
   law limits the amount                        Up to $3,025* of deposits toward purchase, lease, or rental of property or services for
   entitled to priority.                        personal, family, or household use. 11 U.S.C. § 507(a)(7).                                           $

                                                Wages, salaries, or commissions (up to $13,650*) earned within 180 days before the
                                                bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                    $
                                                11 U.S.C. § 507(a)(4).

                                                Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                $

                                                Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                    $

                                                Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                    $

                                          *     Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.




 Part 3:     Sign Below


 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                £       I am the creditor.
 FRBP 9011(b).
                              S I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP              I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts      I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the amount
                              of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be
 fined up to $500,000,        I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 imprisoned for up to 5       and correct.
 years, or both.
 18 U.S.C. §§ 152, 157, and I declare under penalty of perjury that the foregoing is true and correct.
 3571.
                                  Executed on date            05/09/2019
                                                              MM / DD     /   YYYY




                                      /s/ Deanna L. Westfall
                                              Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                     Deanna L. Westfall,
                                                           First name                            Middle name                            Last name

                                  Title                    Attorney for Western States Bank

                                  Company                  Weinstein & Riley, P.S.
                                                           Identify the corporate servicer as the company if the authorized agent is a servicer.

                                  Address                  Eldorado Bldg.2, 11101 West 120th Avenue, Suite 280
                                                           Number           Street

                                                           Broomfield, CO 80021
                                                           City                                                         State          ZIP Code

                                  Contact phone            3035398607                                                   Email          deannaw@w-legal.com




  Official Form 410                                                                       Proof of Claim                                                           page 3
                     Case
Mortgage Proof of Claim   18-14487-KHT
                        Attachment                                        Claim 5      Filed 05/09/19            Desc Main Document                     Page 4 of 28                              (12/15)

If you file a claim secured by a security interest in the debtor's principal residence, you must use this form as an attachment to your proof of claim. See separate instructions.

Part 1: Mortgage and Case Information                     Part 2: Total Debt Calculation                      Part 3: Arrearage as of Date of the Petition             Part 4: Monthly Mortgage Payment
Case number:                                              Principal balance:                                  Principal & interest due:                                Principal &
                           18-14487                                                        $343,352.47                                        $1,775.33                interest:       $1,775.33
Debtor 1:                  Derrick J Martin Jr.           Interest due:                    $1,820.23          Prepetition fees due:           $177.52                  Monthly escrow: $0.00
                                                                                                              Escrow deficiency for funds                              Private mortgage
Debtor 2:                                                 Fees, costs due:                                                                                             insurance:       $0.00
                                                                                            $177.52           advanced:                       $0.00
                                                          Escrow deficiency for                                                                                        Total monthly
Last 4 digits to identify: 2645                                                                               Projected escrow shortage:                               payment:           $1,775.33
                                                          funds advanced:                  $0.00                                              $0.00
Creditor:                  Western States Bank            Less total funds on hand:        $0.00              Less funds on hand:             $0.00
Servicer:                                                 Total debt:                      $345,350.22        Total prepetition arrearage:     $1,952.85
Fixed accrual/daily
simple interest/other:     Fixed

Part 5 : Loan Payment History from First Date of Default
                            Account Activity                                                  How Funds Were Applied/Amount Incurred                     Balance After Amount Received or Incurred
A.           B.             C.         D.         E.             F.            G.             H.          I.         J.        K.           L.           M.            N.       O.        P.          Q.
Date         Contractual    Funds      Amount     Description    Contractual   Prin, int &    Amount      Amount     Amount    Amount       Unapplied    Principal     Accrued Escrow     Fees /      Unapplied
             payment        received   incurred                  due date      esc past due   to          to         to        to fees or   funds        balance       interest balance   Charges     funds
             amount                                                            balance        principal   interest   escrow    charges                                 balance            balance     balance
                                                  Installment
                                                                               $1,775.33                                                                 $347,483.33            $0.00     $0.00       $0.00
                                                                                                                                                                                                              Case:18-01413-KHT Doc#:12-6 Filed:05/17/19




08/05/2017 $1,775.33                              Due            08/05/2017
                                                  Late Charge                  $1,775.33                                                                 $347,483.33            $0.00     $88.76      $0.00
08/15/2017                             $88.76                                                                                   -$88.76
                            $1,775.3                                                                      $1,775.3
                                                  Payment                      $0.00          $0.00                                                      $347,483.33            $0.00     $88.76      $0.00
08/22/2017                  3                                    09/05/2017                               3
                                                  Installment
                                                                               $1,775.33                                                                 $347,483.33            $0.00     $88.76      $0.00
09/05/2017 $1,775.33                              Due
                            $1,775.3
                                                  Payment                      $0.00          $937.41                                                    $346,545.92            $0.00     $88.76      $0.00
09/05/2017                  3                                    10/05/2017                               $837.92
                                                  Installment
                                                                               $1,775.33                                                                 $346,545.92            $0.00     $88.76      $0.00
10/05/2017 $1,775.33                              Due
                            $1,775.3                                                                      $1,281.7
                                                  Payment                      $0.00          $493.59                                                    $346,052.33            $0.00     $88.76      $0.00
10/05/2017                  3                                    11/05/2017                               4
                                                  Installment
                                                                               $1,775.33                                                                 $346,052.33            $0.00     $88.76      $0.00
11/05/2017 $1,775.33                              Due
                            $1,775.3                                                                      $1,365.2
                                                  Payment                      $0.00          $410.10                                                    $345,642.23            $0.00     $88.76      $0.00
11/06/2017                  3                                    12/05/2017                               3
                                                  Installment
                                                                               $1,775.33                                                                 $345,642.23            $0.00     $88.76      $0.00
12/05/2017 $1,775.33                              Due
                            $1,775.3                                                                      $1,235.7
                                                                                                                                                                                                              Entered:05/17/19 12:42:54 Page4 of 28




                                                  Payment                      $0.00          $539.54                                                    $345,102.69            $0.00     $88.76      $0.00
12/05/2017                  3                                    01/05/2018                               9
                                                  Installment
                                                                               $1,775.33                                                                 $345,102.69            $0.00     $88.76      $0.00
01/05/2018 $1,775.33                              Due
                      Case 18-14487-KHT Claim 5 Filed 05/09/19                                               Desc Main Document                    Page 5 of 28
  Mortgage Proof of Claim Attachment: Additional Page                                                                                                                                    (12/15)

Case number:                 18-14487
Debtor 1:                    Derrick J Martin Jr.

Part 5 : Loan Payment History from First Date of Default
                           Account Activity                                               How Funds Were Applied/Amount Incurred                    Balance After Amount Received or Incurred
A.           B.            C.         D.       E.            F.            G.             H.          I.         J.       K.           L.           M.            N.          O.        P.         Q.
Date         Contractual   Funds      Amount Description     Contractual   Prin, int &    Amount      Amount     Amount   Amount       Unapplied    Principal     Accrued     Escrow    Fees /     Unapplied
             payment       received   incurred               due date      esc past due   to          to         to       to fees or   funds        balance       interest    balance   Charges    funds
             amount                                                        balance        principal   interest   escrow   charges                                 balance               balance    balance


                           $1,775.3                                                                   $1,318.9
                                               Payment                     $0.00          $456.38                                                   $344,646.31              $0.00      $88.76     $0.00
01/05/2018                 3                                 02/05/2018                               5
                                               Installment
                                                                           $1,775.33                                                                $344,646.31              $0.00      $88.76     $0.00
02/05/2018 $1,775.33                           Due
                           $1,775.3                                                                   $1,487.1
                                               Payment                     $0.00          $288.16                                                   $344,358.15              $0.00      $88.76     $0.00
02/09/2018                 3                                 03/05/2018                               7
                                               Installment
                                                                           $1,775.33                                                                $344,358.15              $0.00      $88.76     $0.00
03/05/2018 $1,775.33                           Due
                           $1,775.3                                                                   $1,188.7
                                               Payment                     $0.00          $586.59                                                   $343,771.56              $0.00      $88.76     $0.00
03/09/2018                 3                                 04/05/2018                               4
                                               Installment
                                                                           $1,775.33                                                                $343,771.56              $0.00      $88.76     $0.00
04/05/2018 $1,775.33                           Due
                           $1,775.3                                                                   $1,356.2
                                               Payment                     $0.00          $419.09                                                   $343,352.47              $0.00      $88.76     $0.00
                                                                                                                                                                                                           Case:18-01413-KHT Doc#:12-6 Filed:05/17/19




04/10/2018                 3                                 05/05/2018                               4
                                               Installment
                                                                           $1,775.33                                                                $343,352.47              $0.00      $88.76     $0.00
05/05/2018 $1,775.33                           Due
                                                                           $1,775.33                                                                $343,352.47              $0.00      $177.52    $0.00
05/15/2018                            $88.76   Late Charge                                                                  -$88.76
                                               BK Filed                    $1,775.33                                                                $343,352.47              $0.00      $177.52    $0.00
05/23/2018                                                   05/05/2018
                                                                                                                                                                                                           Entered:05/17/19 12:42:54 Page5 of 28




Official Form 410A                                                   Mortgage Proof of Claim Attachment
          Case:18-01413-KHT
           Case 18-14487-KHTDoc#:12-6
                              Claim 5 Filed:05/17/19
                                      Filed 05/09/19 Entered:05/17/19 12:42:54Page
                                                     Desc Main Document         Page6
                                                                                   6 of of
                                                                                        2828
   Fill in this information to identify the case:

   Debtor 1              Derrick J Martin Jr.

   Debtor 2
   (Spouse, if filing)


   United States Bankruptcy Court for the: District of Colorado (Denver)
                                                                                                (State)
   Case number            18-14487




  Official Form 410
  Proof of Claim                                                                                                                                                               04/19
  Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
  make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
  Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
  documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
  mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
  explain in an attachment.
  A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
  Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:       Identify the Claim


1. Who is the current
                                        Western States Bank
   creditor?                            Name of the current creditor (the person or entity to be paid for this claim)

                                        Other names the creditor used with the debtor


2. Has this claim been                  S No
   acquired from                        £ Yes. From whom?
   someone else?

3. Where should notices                 Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   and payments to the                                                                                                  different)
   creditor be sent?
   Federal Rule of                      Western States Bank Attn: Adam Lindstrom
   Bankruptcy Procedure                 Name                                                                            Name
   (FRBP) 2002(g)
                                        3430 E. Grand Avenue
                                        Number        Street                                                            Number          Street

                                        Laramie, WY 82070
                                        City                               State                   ZIP Code             City                          State                   ZIP Code

                                        Contact phone     (307) 721-7553                                                Contact phone
                                        Contact email          a.lindstrom@wsb.bank                                     Contact email
                                        Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                        __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend                S No
   one already filed?                   £ Yes. Claim number on court claims registry (if known)                                                  Filed on
                                                                                                                                                              MM   / DD     / YYYY


5. Do you know if anyone                    No
   else has filed a proof                   Yes. Who made the earlier filing?
   of claim for this claim?




  Official Form 410                                                                          Proof of Claim                                                               page 1
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
                    Claim 5 Filed:05/17/19
                            Filed 05/09/19 Entered:05/17/19 12:42:54Page
                                           Desc Main Document         Page7
                                                                         7 of of
                                                                              2828
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
                    Claim 5 Filed:05/17/19
                            Filed 05/09/19 Entered:05/17/19 12:42:54Page
                                           Desc Main Document         Page8
                                                                         8 of of
                                                                              2828
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
                    Claim 5 Filed:05/17/19
                            Filed 05/09/19 Entered:05/17/19 12:42:54Page
                                           Desc Main Document         Page9
                                                                         9 of of
                                                                              2828
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
                    Claim 5 Filed:05/17/19
                            Filed 05/09/19 Entered:05/17/19 12:42:54Page
                                           Desc Main Document         Page10
                                                                         10 of of
                                                                               2828
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
                    Claim 5 Filed:05/17/19
                            Filed 05/09/19 Entered:05/17/19 12:42:54Page
                                           Desc Main Document         Page11
                                                                         11 of of
                                                                               2828
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
                    Claim 5 Filed:05/17/19
                            Filed 05/09/19 Entered:05/17/19 12:42:54Page
                                           Desc Main Document         Page12
                                                                         12 of of
                                                                               2828
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
                    Claim 5 Filed:05/17/19
                            Filed 05/09/19 Entered:05/17/19 12:42:54Page
                                           Desc Main Document         Page13
                                                                         13 of of
                                                                               2828
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
                    Claim 5 Filed:05/17/19
                            Filed 05/09/19 Entered:05/17/19 12:42:54Page
                                           Desc Main Document         Page14
                                                                         14 of of
                                                                               2828
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
                    Claim 5 Filed:05/17/19
                            Filed 05/09/19 Entered:05/17/19 12:42:54Page
                                           Desc Main Document         Page15
                                                                         15 of of
                                                                               2828
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
                    Claim 5 Filed:05/17/19
                            Filed 05/09/19 Entered:05/17/19 12:42:54Page
                                           Desc Main Document         Page16
                                                                         16 of of
                                                                               2828
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
 Case:18-14487-KHT Doc#:53  Filed:05/17/19
                    Claim 5 Filed:08/27/18  Entered:05/17/19
                             Filed 05/09/19 Entered:08/27/18 12:42:54Page
                                             Desc Main Document
                                                             18:17:54  Page17
                                                                       Page1 ofof
                                                                          17 of 1228
                                                                                28
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
 Case:18-14487-KHT Doc#:53  Filed:05/17/19
                    Claim 5 Filed:08/27/18  Entered:05/17/19
                             Filed 05/09/19 Entered:08/27/18 12:42:54Page
                                             Desc Main Document
                                                             18:17:54  Page18
                                                                       Page2 ofof
                                                                          18 of 1228
                                                                                28
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
 Case:18-14487-KHT Doc#:53  Filed:05/17/19
                    Claim 5 Filed:08/27/18  Entered:05/17/19
                             Filed 05/09/19 Entered:08/27/18 12:42:54Page
                                             Desc Main Document
                                                             18:17:54  Page19
                                                                       Page3 ofof
                                                                          19 of 1228
                                                                                28
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
 Case:18-14487-KHT Doc#:53  Filed:05/17/19
                    Claim 5 Filed:08/27/18  Entered:05/17/19
                             Filed 05/09/19 Entered:08/27/18 12:42:54Page
                                             Desc Main Document
                                                             18:17:54  Page20
                                                                       Page4 ofof
                                                                          20 of 1228
                                                                                28
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
 Case:18-14487-KHT Doc#:53  Filed:05/17/19
                    Claim 5 Filed:08/27/18  Entered:05/17/19
                             Filed 05/09/19 Entered:08/27/18 12:42:54Page
                                             Desc Main Document
                                                             18:17:54  Page21
                                                                       Page5 ofof
                                                                          21 of 1228
                                                                                28
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
 Case:18-14487-KHT Doc#:53  Filed:05/17/19
                    Claim 5 Filed:08/27/18  Entered:05/17/19
                             Filed 05/09/19 Entered:08/27/18 12:42:54Page
                                             Desc Main Document
                                                             18:17:54  Page22
                                                                       Page6 ofof
                                                                          22 of 1228
                                                                                28
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
 Case:18-14487-KHT Doc#:53  Filed:05/17/19
                    Claim 5 Filed:08/27/18  Entered:05/17/19
                             Filed 05/09/19 Entered:08/27/18 12:42:54Page
                                             Desc Main Document
                                                             18:17:54  Page23
                                                                       Page7 ofof
                                                                          23 of 1228
                                                                                28
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
 Case:18-14487-KHT Doc#:53  Filed:05/17/19
                    Claim 5 Filed:08/27/18  Entered:05/17/19
                             Filed 05/09/19 Entered:08/27/18 12:42:54Page
                                             Desc Main Document
                                                             18:17:54  Page24
                                                                       Page8 ofof
                                                                          24 of 1228
                                                                                28
Case:18-01413-KHT
 Case 18-14487-KHTDoc#:12-6
 Case:18-14487-KHT Doc#:53  Filed:05/17/19
                    Claim 5 Filed:08/27/18  Entered:05/17/19
                             Filed 05/09/19 Entered:08/27/18 12:42:54Page
                                             Desc Main Document
                                                             18:17:54  Page25
                                                                       Page9 ofof
                                                                          25 of 1228
                                                                                28
Case:18-01413-KHT
  Case 18-14487-KHTDoc#:12-6
 Case:18-14487-KHT  Doc#:53   Filed:05/17/19
                     Claim 5 Filed:08/27/18   Entered:05/17/19
                              Filed 05/09/19 Entered:08/27/18  12:42:54Page
                                              Desc Main Document
                                                              18:17:54   Page26
                                                                            26 ofofof
                                                                        Page10     28
                                                                                    1228
Case:18-01413-KHT
  Case 18-14487-KHTDoc#:12-6
 Case:18-14487-KHT  Doc#:53   Filed:05/17/19
                     Claim 5 Filed:08/27/18   Entered:05/17/19
                              Filed 05/09/19 Entered:08/27/18  12:42:54Page
                                              Desc Main Document
                                                              18:17:54   Page27
                                                                            27 ofofof
                                                                        Page11     28
                                                                                    1228
Case:18-01413-KHT
  Case 18-14487-KHTDoc#:12-6
 Case:18-14487-KHT  Doc#:53   Filed:05/17/19
                     Claim 5 Filed:08/27/18   Entered:05/17/19
                              Filed 05/09/19 Entered:08/27/18  12:42:54Page
                                              Desc Main Document
                                                              18:17:54   Page28
                                                                            28 ofofof
                                                                        Page12     28
                                                                                    1228
